Case 2:Ol-CV-02780-SHI\/|-STA Document 290 Filed 08/05/05 Page 10f3 WSS?
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IN THE UNITED sTATEs DISTRICT COURT
FOR THE wESTERN DISTRICT oF TENNESSEE 05 AUG ..5 AH|(]: 25
wEsTERN DIVISION

 

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THE cLARK CONSTRUCTION GROUP, INC . , wm 01-”- Ti‘-;, 5`,1‘?¢.%%?’}1¥8
Plaintiff,
vS' NO. 01-2730_MA

CITY OF MEMPHIS, ET AL.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is plaintiff’s August 4, 2005, motion for
sanctions against the defendants.

The motion is hereby referred to the magistrate judge for a
determination. Any exceptions to the magistrate's report shall
be made within ten (lO) days of the report, setting forth
particularly those portions of the order excepted to and the
reasons for the exceptions.

It is so ORDERED this l§‘¥l\day of August, 2005.

P\////wu_.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

